                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:07CV446-1-V
                                    3:99CR165-V



DARRYL PATTERSON,                   )
                                    )
            Petitioner,             )
                                    )
            v.                      )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court for an initial review of Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence (Doc. No. 1), filed October 17, 2007. For the reasons

stated herein, Petitioner’s Motion to Vacate will be denied and dismissed.

                                   PROCEDURAL HISTORY

       On November 1, 1999, Petitioner was one of thirteen individuals indicted by a federal

grand jury in the Western District of North Carolina. Count One of the Indictment charged

Petitioner with one count of conspiracy to possess with intent to distribute and to distribute a

quantity of cocaine and cocaine base in violation of 21 U.S.C. §§ 841(a)(1) and 846. Count Two

charged Petitioner with using, carrying, and possessing firearms during and in relation to a drug

trafficking crime in violation 18 U.S.C. § 924(c). On August 7, 2000, the Government filed a

Second Superceding Indictment setting forth, among other things, the fact of Petitioner’s two

prior felony convictions and the specific amount of drugs involved in Count One. On June 14,

2001, after a trial by jury, Petitioner was convicted of conspiracy to possess with intent to



       Case 3:99-cr-00165-FDW           Document 519         Filed 02/29/08      Page 1 of 7
distribute and to distribute more than fifty grams of cocaine base in violation of 21 U.S.C. §§ 841

and 846. The jury acquitted Petitioner on Count Two. On February 19, 2004, this Court

sentenced Petitioner to 360 months imprisonment to be followed by five years of supervised

release. That same day, Petitioner appealed his sentence and conviction to the United States

Court of Appeals for the Fourth Circuit. On appeal Petitioner argued that insufficient evidence

existed to support his conviction; that the trial court erroneously denied his motion for a new

trial; and that the trial court erred by not instructing the jury on the five year limitations period.

The Fourth Circuit rejected all three of these arguments. See United States v. Patterson, No. 04-

4244 (Aug. 9, 2005, 4th Cir.). Petitioner also argued that his sentence was unconstitutional

because it was based on facts that were neither charged in the Indictment nor found by the jury

beyond a reasonable doubt. The Fourth Circuit held that a Booker error had occurred and as

such vacated Petitioner’s sentence and remanded for resentencing consistent with Booker and its

progeny. Id. On remand, this Court sentenced Petitioner to 262 months imprisonment.

Petitioner again appealed his sentence to the Fourth Circuit. On September 13, 2006, the Fourth

Circuit affirmed Petitioner’s sentence ruling that this Court had properly applied the sentencing

guidelines and that the sentence imposed was reasonable. See United States v. Patterson, No. 06-

4121 (Sept. 13, 2007, 4th Cir.).

        On October 17, 2007, Petitioner filed the present Motion to Vacate, Set Aside, or Correct

Sentence. In his Motion Petitioner alleges that: 1) his criminal history was improperly

calculated; 2) the crime in paragraph 36 should not have been assessed any criminal history

points; and 3) he received ineffective assistance of counsel.




                                                   2


       Case 3:99-cr-00165-FDW            Document 519          Filed 02/29/08      Page 2 of 7
                                               ANALYSIS

I. INITIAL REVIEW AUTHORITY

        Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, sentencing

courts are directed to promptly examine motions to vacate, along with “any attached exhibits and

the record of prior proceedings . . .” in order to determine whether a petitioner is entitled to any

relief on the claims set forth therein. In the event it is determined that a petitioner is not entitled

to relief, the reviewing Court must dismiss the motion.

        Following such directive, this Court has reviewed Petitioner’s Motion to Vacate and the

pertinent record evidence. As hereafter explained, such review clearly establishes that Petitioner

is not entitled to any relief on his claims.

II. PRESENTENCE REPORT ERRORS

        A. Procedural Default

        Petitioner did not raise these presentence report claims on direct review. In order to

collaterally attack a conviction or sentence based upon errors that could have been but were not

pursued on direct appeal, a petitioner must show cause and actual prejudice resulting from the

errors complained of or must demonstrate that a miscarriage of justice1 would result from a

refusal to entertain a collateral attack. See United States v. Mikalajunas, 186 F.3d 490, 492-93

(4th Cir. 1999)(citing United States v. Frady, 456 U.S. 152, 167-68 (1982)). Ineffective

assistance of counsel may constitute cause for default. See Wright v. Angelone, 151 F.3d 151,



        1
          In order to establish a miscarriage of justice a petitioner must establish actual
innocence. See Murray v. Carrier, 477 U.S. 478, 496 (1986). Petitioner makes no argument in
support of any claim of actual innocence.


                                                   3


       Case 3:99-cr-00165-FDW             Document 519        Filed 02/29/08       Page 3 of 7
160 & n.5 (4th Cir. 1998)(constitutional ineffective assistance of counsel establishes cause

sufficient to excuse procedural default). Petitioner does not allege any cause2 to excuse

procedural default and thus his claims of presentence report errors are defaulted.

III. INEFFECTIVE ASSISTANCE OF COUNSEL

       Petitioner’s contention that he received ineffective assistance of counsel is governed by

the holding in Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In Strickland, the

Supreme Court held that in order to succeed on an ineffective assistance of counsel claim, a

petitioner must establish that counsel’s performance was constitutionally defective to the extent it

fell below an objective standard of reasonableness, and that he was prejudiced thereby, that is,

there is a reasonable probability that but for the error, the outcome would have been different. In

making this determination, there is a strong presumption that counsel’s conduct was within the

wide range of reasonable professional assistance. Id. at 689; Fields v. Attorney General of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865 (1995). Petitioner bears the burden

of proving Strickland prejudice. Fields, 956 F.2d at 1297. If the petitioner fails to meet this

burden, a “reviewing court need not consider the performance prong.” Id. at 1290.

       A. Failure to Object to Misidentification of Petitioner

       Petitioner alleges that his counsel was ineffective because he failed to immediately object

when the witness Renado Prince, an undercover officer, misidentified him. Petitioner asserts


       2
          Although Petitioner raises claims of ineffective assistance of counsel he does not do so
with regard to these claims. Even if Petitioner’s motion was construed to assert ineffective
assistance of appellate counsel on this basis he cannot establish prejudice. That is, for the
reasons set forth in the Supplemental Addendum to the Presentence Report -- the criminal history
points given to Petitioner in paragraphs 39 and 40 are correct even taking into account the fact
that Petitioner’s participation in the conspiracy ended with his incarceration. As such, his
criminal history category was appropriately established at level IV.

                                                 4


       Case 3:99-cr-00165-FDW           Document 519        Filed 02/29/08       Page 4 of 7
that his counsel’s failure to timely object “exposes the jury to inflammable testimony that

incriminated [Petitioner]”

       Petitioner’s ineffective assistance of counsel claim on this basis fails because, at a

minimum, he cannot establish that he was prejudiced by his counsel’s failure to immediately

object. At trial Mr. Prince misidentified Petitioner during direct examination. Petitioner’s

counsel did not immediately object and the prosecutor asked several follow-up questions. After a

side-bar, Petitioner’s counsel objected and moved to strike Mr. Prince’s testimony. Petitioner’s

counsel’s objection was granted. After an additional sidebar, the undersigned instructed the jury

that they must not consider Mr. Prince’s testimony for any purpose of the trial. A jury is

presumed to follow its instructions. See Weeks v. Angelone, 528 U.S. 225, 225 (2000).

Consequently, the instruction to disregard for any purpose Mr. Prince’s testimony obviated any

prejudicial effect of Petitioner’s counsel’s failure to immediately object and his ineffective

assistance of counsel claim fails.

       B. Failure to Request Jury Instruction

       Petitioner also alleges that his counsel was ineffective because he failed to request a jury

instruction regarding the five year statute of limitations. More specifically, Petitioner argues that

because his conduct after his release from a 1995 state court conviction was not a part of the

instant conspiracy and because the prosecution did not establish any overt conspiratorial acts

after the October 27, 1994, attempted robbery, a five year limitation instruction would have

enabled the jury to conclude that his post-incarceration conduct was not a part of the conspiracy




                                                  5


       Case 3:99-cr-00165-FDW           Document 519         Filed 02/29/08      Page 5 of 7
and that therefore there was no illegal act established within the five year limitation period.3

        Petitioner’s ineffective assistance of counsel claim on this basis fails because again, at a

minimum, he cannot establish that he was prejudiced. Petitioner was indicted in the instant

federal criminal case on November 1, 1999. Therefore, for a five year limitation jury instruction

to have an impact on his case, Petitioner must establish that he was not a part of the conspiracy

from November 1, 1994 onward. Petitioner mistakenly focuses on the alleged lack of an overt

conspiratorial act after October 27, 1994 – the date of the attempted drug robbery. However,

Petitioner must establish that he withdrew from the conspiracy more than five years before his

indictment. It is well-established law that once a defendant is involved in a conspiracy, he is

presumed to continue until he takes affirmative action to withdraw. See United States v. West,

877 F.2d 281, 289 (4th Cir.)(once an individual is part of a conspiracy that individual remains a

member of the conspiracy until that individual acts “to defeat or disavow the purposes of the

conspiracy”), cert. denied, 493 U.S. 959 (1989); United States v. Sheffer, 896 F.2d 842, 844 (4th

Cir.)(conspiracy is an ongoing crime), cert. denied, 498 U.S. 968 (1990). Petitioner does not

carry his burden. Indeed, Petitioner does not present any evidence to support a conclusion that

Petitioner withdrew from the conspiracy prior to his state conviction in September 1995. Further

supporting the conclusion that Petitioner was not prejudiced by his counsel’s failure to request a

five year limitation instruction is the Fourth Circuit’s ruling in Petitioner’s first appeal that

sufficient evidence existed that Petitioner engaged in conduct in furtherance of the conspiracy

within five years prior to the date of the indictment. See United States v. Patterson, No. 04-4244


        3
        At sentencing this Court ruled that the evidence did not support a finding beyond a
reasonable doubt that Petitioner’s post-incarceration conduct was part of the conspiracy. (Dec.
18, 2003, Sent. Hearing Trans. at pp 6-7).

                                                   6


       Case 3:99-cr-00165-FDW            Document 519         Filed 02/29/08       Page 6 of 7
(Aug. 9, 2005, 4th Cir.). Consequently, Petitioner has not established that he was prejudiced and

his ineffective assistance of counsel claim on this basis fails.

       THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence is DISMISSED.



                                                  Signed: February 29, 2008




                                                  7


       Case 3:99-cr-00165-FDW            Document 519         Filed 02/29/08   Page 7 of 7
